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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY

                                              :
 In re:                                       :       Chapter 11
                                              :
 SHAPES/ARCH HOLDINGS LLC, et al.             :       Case No. 08-14631 (GMB)
                                              :
          Debtors.                            :
                                              :

                              NOTICE OF APPEARANCE AND
                            DEMAND FOR SERVICE OF PAPERS

                 PLEASE TAKE NOTICE that PPL ENERGYPLUS, LLC hereby appears through

 its undersigned counsel, DRINKER BIDDLE & REATH LLP, and demands service of all

 notices and papers herein upon:

                               DRINKER BIDDLE & REATH LLP
                               1100 North Market Street, Suite 1000
                                  Wilmington, DE 19801-1254
                                  Attn: Andrew J. Flame, Esq.
                                     Howard A. Cohen, Esq.
                                   Telephone: (302) 467-4200
                                    Facsimile: (302) 467-4201

                 PLEASE TAKE FURTHER NOTICE that the foregoing demand includes all

 pleadings of any kind, including, without limitation, all notices, motions, complaints, and orders,

 whether written or oral, formal or informal, however transmitted, related in any way to the

 debtor, his property, or his estate. The undersigned requests that its name be added to the

 mailing matrix.

                 PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and

 Demand for Service of Papers (the “Notice”) nor any later appearance, pleading, proof of claim,

 claim, or suit shall constitute a waiver of (i) the right to have final orders in non-core matters

 entered only after de novo review by a District Judge, (ii) the right to trial by jury in any




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 proceeding triable in this case or any case, controversy, or proceeding related to this case, (iii)

 the right to have the District Court withdraw the reference in any matter subject to mandatory or

 discretionary withdrawal, (iv) any objection to the jurisdiction of this Bankruptcy Court for any

 purpose other than with respect to this Notice, (v) an election of remedy, (vi) any other rights,

 claims, actions, defenses, setoffs, or recoupments as appropriate, in law or in equity, under any

 agreements, all of which rights, claims, actions, defenses, setoffs, and recoupments are expressly

 reserved.


 Dated: April 23, 2008                        Respectfully submitted,

                                       By:    /s/ Andrew J. Flame
                                              Andrew J. Flame, Esquire (AF0551)
                                              DRINKER BIDDLE & REATH LLP
                                              A Delaware Limited Liability Company
                                              105 College Road East – Suite 300
                                              P.O. Box 627
                                              Princeton, NJ 08542-0627
                                              Telephone: (609) 716-6500
                                              Facsimile: (609) 799-7000

                                              Attorneys for PPL ENERGYPLUS, LLC




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